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    THE ETHICAL TREATMENT OF
  9 ANIMALS, INC.
 10
 11                            UNITED STATES DISTRICT COURT
 12                           SOUTHERN DISTRICT OF CALIFORNIA
 13
 14 NAZRIN MASSARO, on behalf of                   Case No. 3:20-cv-00510-AJB-MSB
    herself and all others similarly situated,
 15                                                DEFENDANT PEOPLE FOR THE
                 Plaintiff,                        ETHICAL TREATMENT OF
 16                                                ANIMALS, INC.’S NOTICE OF
           v.                                      CONSTITUTIONAL QUESTION
 17
    BEYOND MEAT, INC., and PEOPLE                  Date:    January 14, 2021
 18 FOR THE ETHICAL TREATMENT                      Time:    2:00 p.m.
    OF ANIMALS, INC.,                              Judge:   Hon. Anthony J. Battaglia
 19                                                Ctrm:    4A
                 Defendants.
 20                                                Complaint filed: March 18, 2020
                                                   FAC filed: May 15, 2020
 21                                                Trial Date: Not set
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                                                 -1-            Case No. 3:20-cv-00510-AJB-MSB
      SMRH:4836-3468-5647.1           DEFENDANT PETA’S NOTICE OF CONSTITUTIONAL QUESTION
Case 3:20-cv-00510-AJB-MSB Document 66 Filed 10/28/20 PageID.647 Page 2 of 4




  1 DEFENDANT PEOPLE FOR THE ETHICAL TREATMENT OF ANIMALS,
  2                     INC.’S NOTICE OF CONSTITUTIONAL QUESTION
  3            Pursuant to Federal Rule of Civil Procedure 5.1, Defendant People for the
  4 Ethical Treatment of Animals, Inc. (“PETA”) hereby gives notice that its Motion to
  5 Dismiss Plaintiff Nazrin Massaro’s First Amended Complaint (“FAC”) raises a
  6 constitutional question. Specifically, PETA asserts that the “robocall restriction”
  7 provision of the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. §
  8 227(b)(1)(A)(iii), which is the provision that Plaintiff relies on this action, violates
  9 the First Amendment, on its face and as applied, and thus that provision cannot be
 10 applied to impose liability on PETA in this case. See Barr v. Am. Ass’n of Political
 11 Consultants, Inc., 140 S.Ct. 2335 (2020); Creasy v. Charter Commc’ns, Inc., __
 12 F.Supp.3d __, 2020 WL 5761117 (E.D. La. Sept. 28, 2020).
 13            Moreover, the robocall restriction provision is unconstitutional as applied
 14 here for the additional reason that the “Telemarketing Rule” of the Federal
 15 Communications Commission’s interpretation of the phrase “prior express consent”
 16 within the TCPA violates the First Amendment, as it imposes different requirements
 17 depending on the content of the message, i.e. marketing vs. non-marketing
 18 messages.
 19            This Notice and PETA’s Motion to Dismiss Plaintiff’s FAC will be served via
 20 certified mail and electronic mail on the Attorney General of the United States
 21 concurrently with the filing of this Notice.
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                                                  -2-              Case No. 3:20-cv-00510-AJB-MSB
      SMRH:4836-3468-5647.1              DEFENDANT PETA’S NOTICE OF CONSTITUTIONAL QUESTION
Case 3:20-cv-00510-AJB-MSB Document 66 Filed 10/28/20 PageID.648 Page 3 of 4




  1 Dated: October 28, 2020
  2                             SHEPPARD, MULLIN, RICHTER & HAMPTON
  3                             LLP

  4
  5                             By                /s/ Shannon Z. Petersen
  6                                              SHANNON Z. PETERSEN
                                                       LISA S. YUN
  7                                                    SIEUN J. LEE
  8
                                                Attorneys for Defendant
  9                                           PEOPLE FOR THE ETHICAL
 10                                         TREATMENT OF ANIMALS, INC.

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      SMRH:4836-3468-5647.1       DEFENDANT PETA’S NOTICE OF CONSTITUTIONAL QUESTION
Case 3:20-cv-00510-AJB-MSB Document 66 Filed 10/28/20 PageID.649 Page 4 of 4




  1                                CERTIFICATE OF SERVICE
  2            I am employed in the County of San Diego, State of California. I am over the
  3 age of 18 years and not a party to this action. My business address is Sheppard,
  4 Mullin, Richter & Hampton LLP, 12275 El Camino Real, Suite 200, San Diego,
  5 California 92130-2006.
  6            I hereby certify that on October 28, 2020, I electronically filed the foregoing
  7 Notice of Constitutional Question with the Clerk of the Court using the CM/ECF
  8 system, which will automatically send an email notification to all parties in the case
  9 who are registered CM/ECF users.
 10            I also served a copy of this Notice, the Notice of Motion to Dismiss Plaintiff’s
 11 First Amended Complaint, and the supporting Memorandum of Points and
 12 Authorities via certified mail and electronic mail to:
 13            William P. Barr
               Attorney General of the United States
 14            U.S. Department of Justice, Room 4400
               950 Pennsylvania Avenue, NW
 15            Washington, DC 20530-0001
               Email: AskDOJ@usdoj.gov
 16            ATTN: Notice of Constitutional Question
 17            I declare under penalty of perjury under the laws of the United States of
 18 America that the foregoing is true and correct.
 19            Executed on this 28th day of October, 2020, at San Diego, California.
 20
 21                                                 /s/ Rosa Vernetti
                                                    ROSA VERNETTI
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      SMRH:4836-3468-5647.1               DEFENDANT PETA’S NOTICE OF CONSTITUTIONAL QUESTION
